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                                                                                                   Ch13 Model Plan (rev 11-2017)
                                               United States Bankruptcy Court
                                                     Southern District of Indiana
 In re   James William Plahitko, III                                                            Case No.
                                                                    Debtor(s)                   Chapter      13



                                                     CHAPTER 13 PLAN
                                                               Original
                                                    Amended Plan # (e.g. 1st, 2nd)
                                                    **MUST BE DESIGNATED**

1. NOTICE TO INTERESTED PARTIES:

The Debtor must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “Not Included,” if neither box is checked, or if both boxes are checked, the provision will be ineffective if set out later in
the plan.

1.1 A limit on the amount of a secured claim, pursuant to paragraph 8.(b), which                Included          Not Included
may result in a partial payment or no payment at all to the secured creditor.
1.2 Avoidance of a judicial lien or nonpossessory, non-purchase money security                  Included          Not Included
interest. Any lien avoidance shall occur by separate proceeding, pursuant to
paragraph 12.
1.3 Nonstandard provisions, set out in paragraph 15.                                            Included          Not Included

2. GENERAL PROVISIONS:

  (a)    YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your attorney. If you oppose
  any provision of this plan, you must file a timely written objection. This plan may be confirmed without further notice or hearing
  unless a written objection is filed before the deadline stated on the separate Notice you received from the Court.

  (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan. Absent a Court order
  determining the amount of the secured claim, the filed proof of claim shall control as to the determination of pre-petition arrearages;
  secured and priority tax liabilities; other priority claims; and the amount required to satisfy an offer of payment in full. All claims
  that are secured by a security interest in real estate shall comply with the requirements of Federal Rule of Bankruptcy Procedure
  (“FRBP”) 3001(c)(2)(C).

  (c)     NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all creditors with claims secured by a
  security interest in real estate shall comply with the requirements of FRBP 3002.1(b) and (c) without regard to whether the real
  estate is the Debtor’s principal residence. If there is a change in the mortgage servicer while the bankruptcy is pending, the
  mortgage holder shall file with the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee (“Trustee”) a
  Notice setting forth the change and providing the name of the new servicer, the payment address, a contact phone number and a
  contact e-mail address.

  (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage creditors in Section 8(c) (whose
  rights are not being modified) or in Section 11 (whose executory contracts/unexpired leases are being assumed) may continue to
  mail customary notices or coupons to the Debtor or the Trustee notwithstanding the automatic stay.

  (e)    EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8, the Trustee may increase the amount
  of any “Equal Monthly Amount” offered to appropriately amortize the claim. The Trustee shall be permitted to accelerate payments
  to any class of creditor for efficient administration of the case.

  (f)    PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an order lifting the stay, no
  distributions shall be made on any secured claim relating to the subject collateral until such time as a timely amended deficiency
  claim is filed by such creditor and deemed allowed, or the automatic stay is re-imposed by further order of the Court.

3. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all or such portion of future earnings
or other future income or specified property of the Debtor as is necessary for the execution of this plan.

4. PLAN TERMS:
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   (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay $ $640.00 per month for 60 months to the Trustee, starting not
   later than 30 days after the order for relief, for 60 months, for a total amount of $ 38,400.00 .
   Additional payments to the Trustee and/or future changes to the periodic amount proposed are:
    None.


   (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C. §1306(a)(1) or if the Trustee
   discovers undisclosed property of the estate, then the Trustee may obtain such property or its proceeds to increase the total amount
   to be paid under the plan. However, if the Trustee elects to take less than 100% of the property to which the estate may be entitled
   OR less than the amount necessary to pay all allowed claims in full, then a motion to compromise and settle will be filed, and
   appropriate notice given.

   (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments owed to secured lenders require
   additional funds from the Debtor's income, the Debtor and the Trustee may agree that the Debtor(s) will increase the periodic
   payment amount or that the time period for making payments will be extended, not to exceed 60 months. Creditors will not receive
   notice of any such agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party may request in
   writing, addressed to the Trustee at the address shown on the notice of the meeting of creditors, that the Trustee give that party
   notice of any such agreement. Agreements under this section cannot extend the term of the plan more than 6 additional months.

   (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion pursuant to 11 U.S.C. §1329.
   Service of any motion to modify this plan shall be made by the moving party as required by FRBP 2002(a)(5) and 3015(h), unless
   otherwise ordered by the Court.

5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR’S ATTORNEY FEES):

       NONE
   All allowed administrative claims will be paid in full by the Trustee unless the creditor agrees otherwise:
                           Creditor                                               Type of Claim                        Scheduled Amount
             Robert B. Lynch 17438-49                                            Attorney Fees                             $3,795.00

6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:
       NONE

   (a) Ongoing Domestic Support Obligations. Debtor shall make any Domestic Support Obligation payments that are due after the
   filing of the case under a Domestic Support Order directly to the payee.

   (b) Domestic Support Obligation Arrears.

    NONE

   The following arrearages on Domestic Support Obligations will be paid in the manner specified:

                    Creditor                                          Type of Claim               Estimated Arrears               Treatment
              Alison Plahitko                                                                            $0.00

7. PAYMENT OF SECURED CLAIMS RELATING SOLELY TO THE DEBTOR’S PRINCIPAL RESIDENCE:

       NONE

   As required by Local Rule B-3015-1(d), if there is a pre-petition arrearage claim on a mortgage secured by the Debtor's principal
   residence, then both the pre-petition arrearage and the postpetition mortgage installments shall be made through the Trustee. Initial
   post-petition payment arrears shall be paid with secured creditors. If there are no arrears, the Debtor may pay the secured creditor
   directly. Before confirmation, the payment to the mortgage lender shall be the regular monthly mortgage payment unless otherwise
   ordered by the Court or modified pursuant to an agreement with the mortgage lender. After confirmation, payment shall be as set
   forth below. Equal Monthly Amount and Estimated Arrears listed below shall be adjusted based on the filed claim and/or notice.
   Delinquent real estate taxes and homeowners' association or similar dues should be treated under this paragraph.

                                                                                             Estimated                              Select One for
            Creditor                                   Residential Address                    Arrears      Equal Monthly Amount    Mortgages ONLY:
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        Ocwen Loan                        6945 Rose Tree Ct Indianapolis, IN                   $0.00           $0.00          Trustee Pay
         Servicing                              46237 Marion County                                                           X Direct Pay
                                           purchased in 2003 for $150,000
                                                 4 bed and 2.5 bath
   No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments made by the Trustee
   under the provisions of the Plan, unless allowed by Order of the Court.

8. PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER PARAGRAPH 7:

   (a) Secured Claims as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:

       NONE

   Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation, as to secured claims not
   treated under paragraph 7 and as to which valuation under 11 U.S.C. § 506 is not applicable, the Trustee shall pay monthly adequate
   protection payments equal to 1% of a filed secured claim. The Trustee shall disburse such adequate protection payments to the
   secured creditor as soon as practicable after receiving plan payments from the Debtor, and the secured claim will be reduced
   accordingly. After confirmation of the plan, unless otherwise provided in paragraph 15, the Trustee will pay to the holder of each
   allowed secured claim the filed claim amount with interest at the rate stated in column 5.

          (1)                             (2)                               (3)                   (4)         (5)                 (6)
        Creditor                       Collateral                        Purchase            Est. Claims    Interest             Equal
                                                                           Date               Amount         Rate               Monthly
                                                                                                                                Amount
   Centra Credit              2013 Dodge Journey                     Opened 08/14 Last
      Union                      91,500 miles                          Active 6/20/19        $3,167.00      4.50%                $59.04

   (b) Secured Claims as to Which 11 U.S.C. § 506 Valuation Is Applicable:

    NONE
   Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation as to secured claims not
   treated under paragraph 7 but as to which § 506 valuation is applicable, the Trustee shall pay monthly adequate protection payments
   equal to 1% of the value of the collateral in column 5. The Trustee shall disburse such adequate protection payments to the secured
   creditor as soon as practicable after receiving plan payments from the Debtor, and the secured claim will be reduced accordingly.
   After confirmation of the plan, unless otherwise provided in paragraph 15, the Trustee will pay to the holder of each allowed
   secured claim the value amount in column 5 at the equal monthly amount in column 7 with interest at the rate stated in column 6.

        (1)                         (2)                           (3)               (4)             (5)           (6)               (7)
      Creditor                   Collateral                    Purchase          Scheduled         Value       Interest            Equal
                                                                 Date              Debt                          Rate             Monthly
                                                                                                                                  Amount
   (c) Curing Defaults and/or Maintaining Payments:

       NONE

   Trustee shall pay the allowed claim for the arrearage, and Debtor shall pay regular post-petition contract payments directly to the
   creditor:
                   Creditor                            Collateral/Type of Debt             Estimated Arrears       Interest Rate(if any)
   (d) Surrendered/Abandoned Collateral:

       NONE

   The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate abandons any interest in, and the
   automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the listed collateral and the automatic stay pursuant to 11 U.S.C.
   §1301 is terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in
   paragraph 10.(b) below. Upon confirmation, the secured creditor is free to pursue its in rem rights.

                           Creditor                                      Collateral Surrendered/Abandoned       Scheduled Value of Property

9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:
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       NONE

   All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest thereon (whether or not an
   interest factor is expressly offered by plan terms). All allowed priority claims shall be paid in full by the Trustee, exclusive of
   interest, unless the creditor agrees otherwise:

                    Creditor                           Type of Priority or Secured Claim                Scheduled Debt                  Treatment
 Indiana Department of Revenue                                       11 U.S.C. 507(a)(8)                      $0.00
              IRS                                                    11 U.S.C. 507(a)(8)                      $0.00

10. NON-PRIORITY UNSECURED CLAIMS:
      (a) Separately Classified or Long-term Debts:
           NONE

              Creditor                     Basis for Classification                   Treatment                   Amount                Interest (if any)
      (b)           General Unsecured Claims:
               X Pro rata distribution from any remaining funds; or
                  Other:

11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
           NONE
      All executory contracts and unexpired leases are REJECTED, except the following, which are assumed:
                           Creditor                                                        Property Description                           Treatment

12. AVOIDANCE OF LIENS:
           NONE
      Debtor will file a separate motion or adversary proceeding to avoid the following non-purchase money security interests, judicial
      liens, wholly unsecured mortgages or other liens that impair exemptions:
                           Creditor                                         Collateral/Property Description              Amount of Lien to be Avoided

13. LIEN RETENTION: With respect to each allowed secured claim provided for by the plan, the holder of such claim shall retain
its lien securing such claim until the earlier of a) the payment of the underlying debt determined under non-bankruptcy law or b) entry
of a discharge order under 11 U.S.C. § 1328.

14. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as expressly retained by the plan or
confirmation order, the property of the estate shall revest in the Debtor upon confirmation of the Debtor’s plan, subject to the rights of
the Trustee, if any, to assert claim to any additional property of the estate acquired by the Debtor post-petition pursuant to operation of
11 U.S.C. § 1306.

15. NONSTANDARD PROVISIONS:

    NONE

Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard provision placed elsewhere in the
plan is void. These plan provisions will be effective only if the included box in Paragraph 1.3 of this plan is checked.




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      Centra Credit Union to receive adequate protection payments only until debtor's attorney fees are paid in full.

 Date:        August 7, 2019


                                                                                  /s/ James William Plahitko, III
                                                                                  Signature of Debtor
                                                                                  James William Plahitko, III
                                                                                  Printed Name of Debtor

                                                                                  /s/ Robert B. Lynch
                                                                                  Robert B. Lynch 17438-49
                                                                                  Signature of Attorney for Debtor(s)

                                                                                  Address:                 7210 Madison Avenue
                                                                                  City, State, ZIP code:   Suite B
                                                                                                           Indianapolis, IN 46227
                                                                                  Area code and phone:     317-888-0006
                                                                                  Area code and fax:       317-888-8282
                                                                                  E-mail address:          erin@lynchandbelch.com

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for the Debtor(s) also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in the form plan adopted by this Court,
other than any nonstandard provisions included in paragraph 15.




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